Case 1:23-cv-00822-ADA Document 27-30 Filed 12/22/22 Page 1 of 2




      Exhibit	  KK	  
                       Case 1:23-cv-00822-ADA Document 27-30 Filed 12/22/22 Page 2 of 2

                        7800 Shoal Creek Blvd, Austin, TX 78757 to 501 W 5th St #1100, Austin, TX 78701                    Drive 7.9 miles, 11 min




                                                                                                          Map data ©2022 Google   1 mi



        via TX-1 Loop S                              11 min
        Fastest route now due to traffic            7.9 miles
        conditions

        via TX-1 Loop S and N Lamar Blvd             13 min
                                                    7.9 miles



        via Shoal Creek Blvd and TX-1                15 min
        Loop S                                      8.2 miles




Explore 501 W 5th St #1100




Restaurants   Hotels    Gas stations Parking Lots    More
